
Reese, J.
delivered the opinion of the court.
The defendant was indicted and convicted for a larceny, committed at or near Memphis, in the Circuit Court of Shelby county. The offence was committed prior to the 14th day of December, 1843, at which time the act establishing a Criminal Court for the Civil Districts in Shelby county, in which the City of Memphis, South Memphis and Fort Pickering is situated, was passed by the legislature of the State. The 5th and 6th sections of the act, gives the said Criminal Court exclusive jurisdiction, within said district, of all offences before cognizable in the Circuit Court, expressly reserving to the Circuit Court jurisdiction of all offences committed prior to the passage of the act. The 10th section of the same act is in the following-words: “Beit enacted, That all laws givingto the Circuit Court of Shelby county jurisdiction of crimes and criminal offences, within the above named district or districts, or so much thereof as give such jurisdiction, be and the same is hereby repealed.” It is insisted here for the defendant, that this section has the effect to deprive the Circuit Court of Shelby county of the jurisdiction expressly reserved for it in the 5th section. With this view of the matter we can by no means agree. The jurisdiction of the Criminal Court was intended to be exclusive, but altogether prospective. And it is with a view to make certain this exclusive prospective jurisdiction, that the 10th section was enacted; it would be a strange construction, which would deprive the Circuit Court of a jurisdiction reserved by the 8th section of the statute, and which is not conferred on the Criminal Court.
Wc affirm the judgment.
